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EXHIBIT A-2
F.V. vs. Jeppesen, et al., Case No. 1:17-cv-000170-CWD



Summary of Plaintiffs’ counsels’ hours and rates for Plaintiffs’ first motion to clarify



 Attorney                             Hours             Rate - 2020               Total Fee

 Peter Renn                           145.1             $650                      $94,315.00

 Nora Huppert                         33.9              $325                      $11,017.50

 Kara Ingelhart                       6.9               $320                      $2,208.00

 Monica Cockerville                   7.5               $410                      $3,075.00

 Colleen Smith                        10                $240                      $2,400.00

 Michael Lanosa                       10.6              $250                      $2,650.00

 Isaac Belfer                         4.2               $280                      $1,176.00

 Jamie Farnsworth, Paralegal          12.4              $175                      $2,170.00

                             Total: 230.6                                         $119,011.50
